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                                                                             SOUGHT TO BE
                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                 OAKLAND DIVISION
                                                                             SEALED
 EPIC GAMES, INC.,                                   Case No. 4:20-cv-05640-YGR-TSH
              Plaintiff, Counter-defendant,
                   v.
 APPLE INC.,                                         JOINT DISCOVERY LETTER BRIEF
                  Defendant, Counterclaimant.        REGARDING EPIC’S REQUESTS FOR
                                                     PRODUCTION OF DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom G, 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
         Pursuant to the Court’s order (Dkt. 190; 12/15/20 Hr’g Tr. at 120:2-22), Epic Games, Inc.
(“Epic”) and Apple Inc. (“Apple”, together with Epic, the “Parties”) respectfully submit this joint
letter brief regarding Epic’s request for production of documents from Apple.
        Counsel for the Parties have met and conferred telephonically and exchanged
correspondence in a good faith effort to resolve outstanding disputes. The Parties have been unable
to reach agreement and therefore submit this joint letter. The Parties can make additional
exhibits—including the documents identified in this submission—available to the Court upon
request.
Respectfully submitted,

CRAVATH, SWAINE                              GIBSON DUNN & CRUTCHER LLP
& MOORE LLP

 By: /s/ Lauren A. Moskowitz                         By: /s/ Jay P. Srinivasan
     Lauren A. Moskowitz                                 Jay P. Srinivasan
     Counsel for Epic Games,                             Counsel for Apple Inc.
     Inc.




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Epic’s Position: Epic requests that the Court order Apple (1) not to withhold non-U.S. documents
in response to any Requests for Production (“RFPs”); (2) to produce data pursuant to Epic’s RFP
No. 3; and (3) to produce data pursuant to Epic’s RFP Nos. 5 and 30. 1
(1) Non-U.S. Documents: On October 23, 2020, Epic served its first set of RFPs. (Ex. 1.) Given
the global markets it had alleged, Epic made clear that “[t]he geographic scope of the Requests is
worldwide.” (Id., Instruction B.) On November 23, 2020, Apple served its Objections and
Responses. (Ex. 3.) Apple generally objected to the global reach of the requests, primarily on the
ground that Epic’s requests reach “outside the proper scope of discovery in accordance with the
Foreign Trade Antitrust Improvement Act [(‘FTAIA’)]”. (Id., General Objection No. 10; see also
id., RFPs Nos. 3, 12, 18, 30-31, 56-58 and 60-63.) The Parties met and conferred on December
14 and 22, 2020. Both times, Epic invited Apple to provide case law supporting its position. In
multiple letters exchanged between the Parties, Apple did not provide any cases discussing
discovery in the context of the FTAIA. (Ex. 2 at 1-2; Ex. 4 at 2-3; Ex. 5 at 1; Ex. 6 at 2-3; Ex. 7
at 1.) But Apple stood on this objection, and further stated that it is withholding non-U.S.
documents even from its custodial review. (Ex. 8 at 5-6)
Apple’s objection to producing non-U.S. documents is unfounded. As an initial matter, “the
FTAIA does not prohibit the discovery of information that is otherwise discoverable”. In re
Aspartame Antitrust Litig., 2008 WL 2275531, at *2 (E.D. Pa. May 13, 2008) (citation and
quotation marks omitted); see also, e.g., In re eBay Seller Antitrust Litig., 2008 WL 3925350, at *1
(N.D. Cal. Aug. 22, 2008) (the FTAIA does “not [govern] the discoverability of evidence” “as
relevance does not necessarily stop at the shores of the United States”). Apple attempts to
distinguish these cases, but still cites no authority supporting its contrary position.
Non-U.S. documents are clearly relevant here. Epic has alleged that the relevant markets are
worldwide. (Dkt. 1 ¶¶ 57, 118; see also Dr. David Evans Decl., Dkt. 62 at 10 n.37.) Apple now
calls these allegations “conclusory” (Ex. 8 at 5), but Apple has not challenged them by Rule 12
motion as insufficient. Nor did it challenge the geographic scope of the markets in its TRO or PI
papers. (Dkt. 36; Dkt. 73) Apple may ultimately dispute the geographic scope, but that is only
further reason for Epic to have discovery into this issue. Further, Apple has repeatedly relied on
evidence from outside of the U.S. (See, e.g., Counterclaims, Dkt. 66, Background ¶ 12 (“Because
of IAP . . . developers are saved the hassle of setting up payment infrastructure to handle
transactions in 175 different countries across 45 different local currencies”.); PI Opposition, Dkt.
73 at 4 (Apple pointing to its “share of the global market for smartphone sales”); id. at 12 (“‘[A]
rogue application affecting the operation of a significant fraction of the world’s iPhones could
substantially disrupt local or even worldwide telephony systems, as well as broad segments of the
Internet”.).) Apple cannot withhold documents directly relevant to its own defenses. Further,
Apple is moving to stay an action initiated by Epic in Australia based in part on the pendency of
the above-captioned case. Apple cannot have its cake and eat it too by attempting to stay that
foreign action while also opposing foreign discovery here.

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  The Parties continue to negotiate over Epic’s other RFPs. Apple complains that “Epic has
reneged on its representations” regarding discovery. This is false, and has become a tagline used
by Apple to resist much discovery. Apple also complains “[t]here is no time”. Apple has only
itself to blame. Epic served its first set of RFPs over two months ago, and requested to meet and
confer “as soon as practicable”. (Ex. 1 at 1.) Apple ignored this request for months
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Apple’s Position: Epic sought and obtained an expedited schedule based on its representations
to the Court that “[w]hat we are going to need [in terms of discovery], Your Honor, is certain of
the discovery that’s already been produced” and “some limited targeted additional discovery”
regarding “in-app payment processing” and “market definition.” Aug. 24, 2020 Hr’g Tr. at 4:7-
12, 4:21-24, 5:13-23 (emphasis added). Epic has reneged on its representations.
Notwithstanding the Court’s admonishment that Epic be “focused and efficient” in discovery and
not “re-litigate issues where [Epic has] received the benefit of what has happened in the related
actions,” Oct. 19, 2020 Hr’g Tr. at 20:17-18, Epic served Apple with 83 RFPs spanning all
aspects of Apple’s business and demanding that Apple nearly double the number of custodians
and also conduct burdensome non-custodial collections on dozens of additional subjects.
Apple has bent over backwards to accommodate Epic’s ever-expanding demands—agreeing to
increase the number of Apple custodians from 15 to 24 and to search for and produce many more
categories of documents and data from non-custodial sources. This expansion of the scope of
discovery that Apple has already agreed to will require production well after the Court-ordered
cutoff of January 6, 2021. There is no time for Apple to chase down Epic’s non-custodial
requests that are the subject of this letter brief—which Epic did not raise until Dec. 9 and which
would expand the scope of discovery even further—particularly given how much Epic already
has overreached from the “limited targeted additional discovery” that Epic promised the Court.
(1) Documents Relating to Non-U.S. Activities: The Court should reject Epic’s argument that
Apple must produce documents for App Store storefronts serving 175 countries from Argentina
to Zimbabwe based on Epic’s bare allegation of a “worldwide” market. Epic’s causes of action
in this case are limited by statute to Apple’s activities in the U.S., and Apple has already agreed
to produce and has produced many documents responsive to Epic’s requests, including: (1)
documents that reference Apple’s activities both within and outside of the U.S.; and (2)
documents relating to Epic’s own dealings with Apple outside of the U.S. Other documents
about, for example, sales by Chinese developers to Chinese consumers in Chinese currency, are
irrelevant and disproportional to the claims asserted by Epic in this case.
The “proper scope of discovery” is determined by “what claims may proceed.” Jimenez v.
Liberty Nw. Ins. Corp., No. CV 14-253-M-JCL, 2015 WL 2062708, at *2 (D. Mont. May 4,
2015); see Fed. R. Civ. P. 26 (permitting discovery “relevant to any party’s claim or defense”)
(emphasis added). The Foreign Trade Antitrust Improvements Act (FTAIA) explicitly “removes
from the reach of the antitrust laws” commercial activities abroad, subject to a few exceptions
inapplicable here. United States v. Hui Hsiung, 778 F.3d 738, 751 (9th Cir. 2015). Thus Apple’s
activities outside of the U.S. cannot form the basis for liability in this case. See id.; Dynamic
Random Access Memory (DRAM) Antitrust Litig., 546 F.3d 981, 988 (9th Cir. 2008). As such,
documents relating to such activities are neither relevant nor proportional to the needs of the
case. See Wu v. City of Redwood City, 11 Fed.Appx. 914, 916 (9th Cir. 2001) (affirming
preclusion of discovery “because there was no basis for . . . liability as a matter of law”).
In the cases Epic cites, domestic antitrust plaintiffs sought international discovery targeted to
support their substantive claims. In In re Aspartame Antitrust Litig., the court found documents
relating to “sale and distribution” outside of the U.S. potentially relevant to “the existence of a
global conspiracy to allocate the market.” See 2008 WL 2275531, at *2 (E.D. Pa. May 13,
2008) (emphasis added). The court thus declined to bar discovery into international activities
wholesale, instead ordering the parties “to meet and discuss reasonable limits that can be placed
on Plaintiffs’ discovery requests.” See id. (emphasis added). Likewise, in In re eBay Seller

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Antitrust Litig., the defendant allegedly “engaged in a strategy to remove competitors from the
marketplace.” See 2008 WL 3925350, at *1 (N.D. Cal. Aug. 22, 2008). Under the pre-2016
Rule 26 standard, the court required defendant to produce a handful of international agreements
that were assertedly relevant to that claim. Id.
In contrast, Epic does not allege a “global conspiracy to allocate the market” or otherwise claim
that Apple’s non-U.S. activities prove domestic antitrust liability. Rather, Epic seeks broad non-
U.S. discovery based on its bare allegation that “[t]he geographic scope of” the alleged “iOS App
Distribution Market” and “iOS In-App Payment Processing Market” is “worldwide,” Dkt. 1,
¶¶ 57, 118—offering no analysis of how such a “worldwide” market bears on the scope of its
claims or available relief in view of the FTAIA. If Epic is entitled to worldwide discovery here,
then every plaintiff claiming a worldwide market would be entitled to such discovery. That
cannot be and is not the law. Nor does this result change because the parties are litigating a case
on related issues in Australia. In fact, the motion to stay the Australian action is based, in large
measure, on the parties’ agreement that all actions would be brought in state or federal court in
the Northern District of California.
Epic’s reliance on Apple’s passing references to non-U.S. activities is similarly misplaced. The
fact that Apple provides to developers a payment infrastructure that is generally capable of
handling transactions worldwide, see Dkt. 66 ¶ 12, in no way means that the specific identity of
each “third party settlement provider” (RFP No. 18) is relevant and proportional. Likewise, it is
unreasonable to suggest that, because the App Store model offers a secure platform to customers
worldwide, id. at 12, Epic should be entitled to take discovery on security measures in Algeria
(RFP Nos. 61-63) that can neither form the basis of liability nor serve as a defense in this case.
Finally, Epic is simply wrong that there is little burden associated with producing the broad
categories of documents it requests. Apple has already reviewed millions of documents on the
(correct) basis that those documents relating solely to non-U.S. App Store storefronts are not
relevant in this case unless they involve Epic. See Oct. 19, 2020 Hr’g Tr. at 20:18-20. Apple
should not be forced to re-review them, especially given Epic’s representations upon which the
Court relied in setting the schedule demanded by Epic.
(2) Documents Relating to Apple Accessories and Ancillary Products: The Court should also
reject Epic’s request to expand the scope of discovery to Apple products that are not at issue in
this case. Epic’s RFP Nos. 3 and 4 request “actual and projected revenue, costs, expenses, and
profits, by country, by year, incurred by, earned by and/or attributed to sales” for a host of Apple
products and accessories—including Apple Watches, AirPods, cases, chargers, speakers, and
watch bands. The irrelevance of such products is clear—none of them is mentioned in Epic’s
Complaint—and Epic now moves to compel this data only as to Apple Watch and AirPods.
Epic argues that such products may have “[s]ustained, high profit margins [that] evidence market
power.” But Epic’s own complaint alleges only two product markets (for app distribution and
in-app payment processing); this lawsuit does not concern markets for Watches or AirPods. As
the Court has recognized, “what I have in front of me now, it is this game market.” Sept. 28,
2020 Hr’g Tr. at 36:13-14. And in any case, “rates of return are more a reflection of various
accounting conventions than true economic profit” and reveal “very little about market power.”
Bailey v. Allgas, Inc., 284 F.3d 1237, 1252 (11th Cir. 2002). Unsurprisingly, use of such
measures to ascertain market power “has yet to be accepted by any circuit.” Id. at 1253; see also
Fed. Trade Comm’n v. Qualcomm Inc., 969 F.3d 974, 994 (9th Cir. 2020) (“[T]he goal of
antitrust law is not to force businesses to forego profits or even the opportunity to charge
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monopoly prices, which is what attracts business acumen in the first place.” (quotation marks
and citations omitted)).
Not content to receive a mountain of discovery on the App Store and on the devices that access
the App Store, Epic seeks to expand discovery to accessories to those devices. This does not
come close to justifying the burden of collecting this data, which would require interviewing
percipient witnesses, investigating non-custodial repositories, and conducting an independent
collection and production effort separate from Apple’s ongoing custodial document review.
(3) Documents Relating to Non-Existent Finances Attributed to IAP: Epic also seeks documents
and data about cost and revenues “earned” by or attributable to IAP. Apple has repeatedly
explained that IAP is a functionality of the App Store, and not a separate product that “earns” or
is “attributed” any costs or revenue. It makes no sense to assign “revenues” from App Store
purchases to IAP, or to think of costs of marketing or app reviewer compensation as costs
“attributable” to IAP.
In any event, pursuant to the Court’s December 16, 2020 order, Apple is working to produce data
underlying App Store P&L calculations. This will include data on the expenses and revenues
associated with the App Store generally. The documents Epic cites show only that Apple tracks
revenues from the App Store. But Apple is already producing transactional data that shows
revenues for the App Store’s U.S. storefront, which includes revenue from the sale of in-app
purchases, and Epic has no doubt engaged experts to evaluate that data. Similarly, Apple has
agreed to produce data regarding some of its costs, such as what it pays its app reviewers. All
Apple is saying in response to this request is that it cannot provide non-existent financial data
ascribed to the technological functionality called “IAP.” Accordingly, the Court should dismiss
this dispute.




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                              Respectfully submitted,

                              By:            /s/Lauren A. Moskowitz
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Dated: December 28, 2020      GIBSON, DUNN & CRUTCHER LLP
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                                   E-FILING ATTESTATION

                       I, Lauren A. Moskowitz, am the ECF User whose ID and password are

being used to file this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest

that each of the signatories identified above has concurred in this filing.



                                                                 /s/ Lauren A. Moskowitz
                                                                Lauren A. Moskowitz




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